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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF ILLINOIS
                              BENTON DIVISION
______________________________________________________________________________

The Coin-Tainer Company, LLC                       Case No. 3:19-CV-00234 (NJR/RJD)

       Plaintiff,                                  NOTICE OF WITHDRAWAL AND
                                                   SUBSTITUTION OF COUNSEL
v.

Pap-R Products Company, and
Pap-R-Tainer, LLC, and Scott Ware,

       Defendants.


PLEASE TAKE NOTICE THAT, the undersigned attorney hereby notifies the Court and

counsel that Plaintiff, The Coin-Tainer Company, LLC, has retained Brian R. Kalb of Byron

Carlson Petri & Kalb, LLC to substitute as counsel for Sandra J. Tatoian of Goldenberg Heller &

Antognolli, P.C. Attorney Bryan R. Battina of Trepanier MacGillis Battina P.A. shall remain as

lead counsel. Attorney Kalb certifies that he will comply with existing hearing schedules and

deadlines.

Dated: December 23, 2019.            TREPANIER MACGILLIS BATTINA P.A.

                                            /s/Bryan R. Battina
                                     By: _________________________
                                         Bryan R. Battina, MN #338102 (admitted pro hac vice)
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                                    BYRON CARLSON PETRI & KALB, LLC

                                           /s/Brian R. Kalb
                                    By: _________________________
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                                        www.bcpklaw.com

                                    ATTORNEYS FOR PLAINTIFF
                                    THE COIN-TAINER COMPANY, LLC



   With agreement:

                                    GOLDENBERG HELLER & ANTOGNOLI, P.C.

                                           /s/Sandra J. Tatoin
                                    By: _________________________
                                        Sandra J. Tatoian, IL #06278580
                                        2227 South State Route 157
                                        Edwardsville, IL 62025
                                        Phone: 618.656.5150
                                        www.goldenbergheller.com

                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December 2019, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, for service upon the parties and

counsel of record.

                                              /s/Brian R. Kalb
                                           _________________________

                                           Brian R. Kalb, IL #6275228




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